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 9                         UNITED STATES DISTRICT COURT
                                DISTRICT OF ALASKA
10                             ANCHORAGE DIVISION

11   CHRISTOPHER JOEL WRIGHT and
     CYNTHIA ELAINE WRIGHT, as Co-
12   Personal Representatives of the Estate of
     KIRSTIN NICOLE WRIGHT, deceased
13
                  Plaintiffs,
14
           vs.
15
     HELEN KNOPP, as Personal
16   Representative of the ESTATE OF             CASE NO.: 3:21-cv-00049
     GARY KNOPP, deceased; HELEN
17   KNOPP, individually and d/b/a G & H
     CONSTRUCTION; HIGH                          PLAINTIFFS’ UNOPPOSED
18   ADVENTURE AIR CHARTER                       MOTION TO CONSOLIDATE
     GUIDES AND OUTFITTERS, INC.;
19   SOLDOTNA AIRCRAFT &
     EQUIPMENT LEASING, LLC; CINDY
20   LYNN RAINEY-BELL as Personal
     Representative of the ESTATE OF
21   GREGORY BELL,

22                Defendants.

                                                 1
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 1          Plaintiffs CHRISTOPHER JOEL WRIGHT and CYNTHIA ELAINE WRIGHT,

 2 as Co-Personal Representatives of the Estate of KIRSTIN NICOLE WRIGHT, deceased

 3 by and through their attorneys, RAPOPORT WEISBERG & SIMS, P.C., the HODGE &

 4 LANGLEY LAW FIRM, and 49TH STATE LAW, LLC and move this Court to consolidate the

 5 instant matter and Hulsey, et al. v. Knopp, et al. 3:21-cv-00051-JWS. In support thereof,

 6 Plaintiffs state as follows:

 7          1.       This lawsuit (hereinafter “the Wright lawsuit”) and the Hulsey, et al. v.

 8 Knopp, et al. lawsuit (hereinafter “the Hulsey lawsuit”) both arise out of the same Kenai

 9 Peninsula mid-air collision that took place approximately above Soldotna, Alaska on July

10 31, 2020.

11          2.       The decedents in both lawsuits were all South Carolina passengers aboard

12 one of the aircraft involved in the midair collision.

13          3.       Both the Wright lawsuit and the Hulsey lawsuit name the exact same

14 defendants.

15          4.       Both the Wright lawsuit and the Hulsey lawsuit state the exact same causes

16 of action.

17          5.       Both the Wright lawsuit and the Hulsey state nearly identical factual

18 allegations.

19          6.       Both the Wright lawsuit and the Hulsey were filed on the same day and are

20 at the exact same procedural and discovery stage.

21          7.       Consolidation of separate matters is governed by Federal Rule of Civil

22 Procedure 42(a), which provides:

                                                  2
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 1          (a) CONSOLIDATION. If actions before the court involve a common question
            of law or fact, the court may:
 2
                   (1) join for hearing or trial any or all matters at issue in the actions;
 3
                   (2) consolidate the actions; or
 4
                   (3) issue any other orders to avoid unnecessary cost or delay.
 5
     FED. R. CIV. P. 42(a).
 6
            8.       The purpose of Rule 42(a) is “to prevent . . . unnecessary duplication of
 7
     effort in related cases.” EEOC v. G-K-G, Inc. 39 F.3d 740, 745 (7th Cir. 1994); see also 8
 8
     Moore’s Federal Practice – Civil § 42.10[4][b](2021) (explaining courts “are likely to
 9
     embrace [consolidation where it will] achieve significant savings of time or avoid serious
10
     duplication of effort.”) .
11
            9.       The main question a court must address is whether there are common
12
     questions of law or fact. Single Chip Sys. Corp. v. Intermec IP Corp., 495 F. Supp. 2d
13
     1052, 1057 (S.D. Cal. 2007). A reviewing court then must "weigh[] the saving of time
14
     and effort consolidation would produce against any inconvenience, delay or expense that
15
     it would cause." Huene v. United States, 743 F.2d 703, 704 (9th Cir. 1984); see also 8
16
     Moore’s Federal Practice – Civil § 42.10 (“The articulated standard for consolidating
17
     two or more cases is simply that they involve ‘a common question of law or fact.’”).
18
            10.      The Court need not find that common questions of law or fact predominate,
19
     only that they exist and that consolidation can prove beneficial. 8 Moore’s Federal
20
     Practice – Civil § 42.10[1][a].
21

22

                                                      3
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 1         11.    Consolidation under Rule 42(a) is left to the "broad discretion" of the

 2 district courts. Investors Research, Co. v. United States Dist. Court, 877 F.2d 777 (9th

 3 Cir. 1989).

 4         12.    Frequently, actions that are consolidated are of a “like nature”, such as

 5 actions arising out of the same accident. See e.g. In re Air Crash Disaster at Detroit

 6 Metro. Airport, 737 F. Supp. 391, 392-395 (E.D. Mich. 1989)(156 individual cases

 7 consolidated for trial as result of crash of Northwest Flight 255); see also In re: Ethiopian

 8 Airlines Flight ET 302 Crash, 1:19-cv-02170, D.E. 35 (N.D. Ill. May 22,

 9 2019)(consolidating all individual related actions related to the crash of Ethiopian

10 Airlines Flight 302). Cases arising out of a single catastrophic incident offer a fitting

11 subject for consolidation. 8 Moore's Federal Practice - Civil § 42.10 (2021)(collecting

12 cases). In such cases, it has been routinely found that each plaintiff’s claims share core

13 questions of fact or law. Id.

14         13.    Both the Wright lawsuit and the Hulsey lawsuit would benefit from

15 consolidation. Consolidation would save time and effort both by avoiding duplicative

16 discovery, trials, and potentially inconsistent results. There would be no prejudice or

17 delay associated with consolidation, especially at these early phases of the lawsuits.

18         14.    Plaintiffs’ counsel has met and conferred with counsel for all parties,

19 including counsel for the Plaintiffs in the Hulsey lawsuit and all parties in both lawsuits

20 are in agreement that the Wright lawsuit and the Hulsey lawsuit should be consolidated.

21         15.    A proposed order is attached as “Exhibit 1”.

22

                                                 4
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 1         WHEREFORE, Plaintiffs pray the Wright lawsuit and the Hulsey lawsuit be

 2 consolidated pursuant to Rule 42(a).

 3

 4
                                     By:   /s Matthew S. Sims
 5                                         Attorneys for Plaintiffs

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 1                              CERTIFICATE OF SERVICE

 2 I certify that on the 4th day of May, 2021, a true and correct copy of the foregoing was
   served to all counsel of record in the above-referenced matter through the ECF, and was
 3 electronically served on all counsel of record in Hulsey, et al. v. Knopp, et al. 3:21-cv-
   00051-JWS
 4

 5 /s Matthew S. Sims

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